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                           UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF OKLAHOMA


ROBBIE EMERY BURKE, as Special                   )
Administratrix of the Estate of Billy Woods,     )
Deceased,                                        )   Case No. CIV 18-108-RAW
                                                 )
                                 Plaintiff(s),   )   Date:   6/25/2019
                                                 )
                     v.                          )   Time:   8:52 AM – 9:00 AM
                                                 )           9:07 AM – 10:56 AM
MUSKOGEE COUNTY BOARD OF                         )           11:15 AM – 12:32 PM
COUNTY COMMISSIONERS,                            )           1:32 PM – 2:22 PM
                                                             4:13 PM – 4:24 PM
                               Defendant(s).


                                    MINUTE SHEET
                                 SUMMARY JURY TRIAL

Kimberly E. West, Judge            A. Winkle, Deputy Clerk       FTR – Courtroom 3

Plaintiff’s Counsel: Dan Smolen, Joel LaCourse
Defendant’s Counsel: Andy Artus, Taylor Riley


MINUTES:

Summary Jury Trial concluded.
